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                           UNITED STATES DISTRICT COURT

                                DISTRICT OF NEW MEXICO

__________________________________________
                                              )
NEW MEXICO CATTLE GROWERS’                    )
ASSOCIATION,                                  )
                                              )
      Plaintiff,                              )
                                              )
                v.                            )
                                              )
UNITED STATES ENVIRONMENTAL                   )
PROTECTION AGENCY, et al.,                    )
                                              )
      Defendants,                             )
                                              )               Case No. 1:19-cv-00988-RB-SCY
                and                           )
                                              )
AMIGOS BRAVOS, NEW MEXICO                     )
ACEQUIA ASSOCIATION, and GILA                 )
RESOURCES INFORMATION                         )
PROJECT,                                      )
                                              )
      Intervening Cross-Claimants-Defendants, )
                                              )
                v.                            )
                                              )
UNITED STATES ENVIRONMENTAL                   )
PROTECTION AGENCY, et al.,                    )
                                              )
      Cross-Defendants.                       )
__________________________________________)

                                             ORDER

       Upon consideration of Defendants/Cross-Defendants’ motion to further extend the stay in

this proceeding (Doc. 65), it is ordered that the above-captioned proceeding be further stayed until

July 1, 2021.

       The Parties will file either a joint motion or separate proposals to further govern

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proceedings no later than July 1, 2021.

       IT IS SO ORDERED.



                                          ________________________________
                                          ROBERT C. BRACK
                                          SENIOR U.S. DISTRICT JUDGE




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